Case 2:12-cr-00034-RAED             ECF No. 28, PageID.67          Filed 02/15/13         Page 1 of 2




                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION




UNITED STATES OF AMERICA,

                       Plaintiff,                     Case No. 2:12-cr-34-02

v.                                                    HON. ROBERT HOLMES BELL

KATHRYN COURTNEY BURLEW,

                  Defendant.
____________________________________/


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on February 15, 2013, after receiving the written consent of defendant and all counsel. At the

hearing, defendant KATHRYN COURTNEY BURLEW entered a plea of guilty to Count 4 of the

Indictment, charging defendant with Distribution of Morphine, in violation of 21 U.S.C. Section

841(a)(1), in exchange for the undertakings made by the government in the written plea agreement.

On the basis of the record made at the hearing, I find that defendant is fully capable and competent

to enter an informed plea; that the plea is made knowingly and with full understanding of each of the

rights waived by defendant; that it is made voluntarily and free from any force, threats, or promises,

apart from the promises in the plea agreement; that the defendant understands the nature of the

charge and penalties provided by law; and that the plea has a sufficient basis in fact.

               I therefore recommend that defendant's plea of guilty to Count 4 of the Indictment be

accepted, that the court adjudicate defendant guilty, and that the written plea agreement be
Case 2:12-cr-00034-RAED            ECF No. 28, PageID.68           Filed 02/15/13      Page 2 of 2




considered for acceptance at the time of sentencing. It is further recommended that the order setting

conditions of defendant's release remain in effect pending sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, determination of defendant's status pending

sentencing, and imposition of sentence are specifically reserved for the district judge.



Date: February 15, 2013                                /s/ Timothy P. Greeley
                                                      TIMOTHY P. GREELEY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than fourteen days after the plea hearing. See
W.D. MICH . L.CR.R. 11.1(d).




                                               - 2 -
